Primary Providers of Alabama, Inc. Budget                         June-19           July-19        August-19
    Ordinary Income/Expense
           Income
               5000 · PPOAL Revenue                                        67,000         69,250            71,375
           Total Income                                                 67,000.00      69,250.00         71,375.00
        Gross Profit                                                    67,000.00         69,250            71,375
           Expense
               7000 · Advertising and Promotion                               330            330               330
               7010 · Bank Service Charges                                     23             23                23
               7020 · Billing Service Fees Paid                              3500           3500              3500
               7030 · Business Licenses and Permits                            54             54                54
               7050 · Computer and Internet Expenses                          146            146               146
               7060 · Continuing Education                                     87             87                87
               7070 · Dues and Subscriptions                                  200            200               200
               7090 - Employee Health Insurance                               237            237               237
               7110 · Malpractice Insurance                                   735            735               735
               7120 · Worker's Compensation                                   166            166               166
               7126 · General Liability Insurance                             160            160               160
               7140 · Janitorial Expense                                      600            600               600
               7170 · Meals and Entertainment                                 179            179               179
               7182 · Medical Supplies                                       2631           2631              2631
               7183 · Vaccines and Medicines                                 3323           3323              3323
               7190 · Office Supplies                                         589            589               589
               7200 · Payroll Expenses                                     43,956         43,500            42,750
               7205 · Postage and Delivery                                    207            207               207
               7207 · Printing and Reproduction                                74             74                74
               7220 · Ultrasound Service                                      658            658               658
               7245 · Repairs and Maintenance                                 156            156               156
               7250 · Rent Expense                                          3,138          3,138             3,138
               7260 · Telephone Expense                                       740            740               740
               7300 · Utilities                                               360            360               360
               7900 · Proposed
                       Legal FeesChapter 11 payments                     4,500.00          4,500             4,500
           Total Expense                                                66,749.00      66,293.00         65,543.00
    Net Ordinary Income                                                    251.00       2,957.00          5,832.00
Net Income                                                                 251.00       2,957.00          5,832.00




            Case 18-83207-CRJ11                Doc 158-1 Filed 05/21/19 Entered 05/21/19 13:03:59              Desc
                                                      Exhibit A Page 1 of 1
